      Case 3:22-cv-00595-TWR-MSB Document 11 Filed 05/17/22 PageID.112 Page 1 of 2
                                            United States District Court
                          •                   SOUTHERN DISTRICT OF CALIFORNIA


     BELL SEMICONDUCTOR, LLC                               Plaintiff,
                                                                                 Case No. 3:22-cv-00595-TWR-MSB

                                                    V.                     PRO HAC VICE APPLICATION
      QUALCOMM INC. , et al                                                      Plaintiff Bell Semiconductor, LLC
                                                         Defendant.
                                                                                Party Represented


I,       Alexandra Easley                                        hereby petition the above entitled court to permit me
                              (Applicant)

to appear and participate in this case and in support of petition state:
           My firm name:                MCKOOL SMITH P.C.
           Street address:              300 Crescent Court Suite 1500
           City, State, ZIP:            Dallas TX 75201
           Phone number:                214-978-4000
           Email:                        aeasley@McKoolSmith.com
           That on 11 /3/2017                   I was admitted to practice before          Supreme Court of Texas
                               (Date)                                                                      (Name of Court)

           and am currently in good standing and eligible to practice in said court,
           that I am not currently suspended or disbarred in any other court, and
           that I    D have)      I]] have not)        concurrently or within the year preceding this application made
           any pro hac vice application to this court.
                                        (If previous application made, complete the following)
Title of case
                    -------------------------------
Case Number                           Date of Application
                    -----------------                     -------
Application:        D   Granted           D   Denied
           I declare under penalty of perjury that the foregoing is true and correct.
                                                                        s/ Alexandra Easley
                                                                                                 (Signature of Applicant)

                                          DESIGNATION OF LOCAL COUNSEL
I hereby designate the below named as associate local counsel.
     Seth W . Wiener                                                            ___,_(9_2_5.,_)_48_7_-5_6_0_7_ _ _ _ __
(Name)                                                                          (Telephone)

     LAW OFFICES OF SETH W. WIENER
(Firm)


     609 Karina Court,                                   San Ramon, CA 94582
(Street)                                                                       (City)                                        (Zip code)

                                                                                        s/ Alexandra Easley
                                                                                (Signature of Applicant)

I hereby consent to the above designation.                                       Sdw.w~
                                                                                (Signature of Designee Attorney)
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Pro Hae Vice (For this one particular occasion)

An attorney who is not a member of the California State Bar, but who is a member in good standing of,
and eligible to practice before, the bar of any United States court or of the highest court of any State or
of any Territory or Insular possession of the United States, who is of good moral character, and who has
been retained to appear in this Court, be permitted to appear and participate in a particular case. An
attorney is not eligible to practice pursuant to this paragraph if any one or more of the following apply
to him/her: (1) he/she resides in California, (2) he/she is regularly employed in California, or (3) he/she
is regularly engaged in business, professional, or other activities in California

The pro hac vice application shall be presented to the Clerk and shall state under penalty of perjury
(1) the attorney's residence and office address, (2) by what court he/she has been admitted to practice
and the date of admission, he/she is in good standing and eligible to practice in said court,
(4) that he/she is not currently suspended or disbarred in any other court, and (5) if he/she has
concurrently or within the year preceding his/her current application made any pro hac vice application
to this court, the title and the case number of each matter wherein he made application, the date of
application, and whether or not his/her application was granted. He/She shall also designate in his
application a member of the bar of this Court with whom the Court and opposing counsel may readily
communicate regarding the conduct of the case and upon whom papers shall be served. He/She shall
file with such application the address, telephone number and written consent of such designee.

Fee:. $213.00

If application and fee require submission via U.S. Mail, please contact:

                                                      CASO Attorney Admissions Clerk
                                                      (619) 557-5329




The pro hac vice application for Alexandra Easley representing Bell Semiconductor, LLC is hereby:

0    APPROVED for fil ing                        IK)DENIED,----:-              n
Date.   05/17/2022                              It is so ordered . /   o'S) \ <(tt) , ~
                                                                  Honorable Todd W. Robinson
